Case 2:20-cv-04200-PSG-AS Document 21
                                   22 Filed 11/06/20
                                            11/09/20 Page 1 of 2 Page ID #:97
                                                                         #:99




  1 SO. CAL EQUAL ACCESS GROUP
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  5
    Attorney for Plaintiff,
                                                              JS-6
  6 MICHAEL RHAMBO
  7
  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
 11 MICHAEL RHAMBO,                              Case No. 2:20-cv-04200-PSG (ASx)
 12               Plaintiff,
                                                 NOTICE OF VOLUNTARY
 13        vs.                                   DISMISSAL OF ENTIRE CASE
                                                 WITHOUT PREJUDICE ; ORDER
 14 FLOUR & OIL RESTAURANT
    GROUP, INC. D/B/A HONEY BIRD;
 15 712 FOOTHILL, LLC; and DOES 1 to
    10,
 16
             Defendants.
 17
 18
 19        PLEASE TAKE NOTICE that Plaintiff MICHAEL RHAMBO (“Plaintiff”)
 20 pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily
 21 dismisses the entire action without prejudice pursuant to Federal Rule of Civil
 22 Procedure Rule 41(a)(1) which provides in relevant part:
 23        (a) Voluntary Dismissal.
 24               (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2,
 25                      and 66 and any applicable federal statute, the plaintiff may
 26                      dismiss an action without a court order by filing:
 27                      (i)   A notice of dismissal before the opposing party serves
 28                            either an answer or a motion for summary judgment.

                                                              NOTICE OF VOLUNTARY DISMISSAL
Case2:20-cv-04200-PSG-AS
Case 2:20-cv-04200-PSG-AS Document
                          Document22
                                   21 Filed
                                      Filed11/09/20
                                            11/06/20 Page
                                                     Page22of
                                                           of22 Page
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  1 Defendants have neither answered Plaintiff’s Complaint, nor filed a motion for
  2 summary judgment. Accordingly, this matter may be dismissed without an Order of
  3 the Court.
  4
  5
      DATED: November 6, 2020                  SO. CAL EQUAL ACCESS GROUP
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  7
                                                     /s/ Jason J. Kim
  8                                            JASON J. KIM
                                               Attorney for Plaintiff
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 10
                                                       IT IS SO ORDERED.
 11                                                           11/09/2020
                                                     DATED: _______________
 12
 13                                                  _______________________
                                                      U.S. DISTRICT JUDGE
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                                                           NOTICE OF VOLUNTARY DISMISSAL
